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WHITE HOUSE

Bolton book release pushed back again, to late June
The book has already been the subject of letters between Bolton’s lawyer and the NSC’s lawyers.




Former national security adviser John Bolton. | Jacquelyn Martin/AP Photo


By DANIEL LIPPMAN
04/29/2020 05:54 PM EDT
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The publication of former Trump national security adviser John Bolton’s tell-all
book has been pushed back again to at least late June, according to a notice
from Amazon.com, amid an extensive prepublication review by the National
Security Council.

Bolton’s book, “The Room Where It Happened: A White House Memoir,” is
now scheduled to be published on June 23, more than three months after it was
originally supposed to be released. This is the second delay for the much-
anticipated book; after the March 17 publication date slipped, it got pushed
back to May 12.

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A spokesperson for Bolton declined to comment, while a spokesperson for the
National Security Council, whose records management division is reviewing
Bolton’s draft for classified material, also did not have a comment.


Bolton’s book, to be published by Simon & Schuster, has already been the
subject of letters back and forth between Bolton’s lawyer and NSC lawyers as
the government decides what he can publicly reveal about his time in the White
House.
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His lawyer, Chuck Cooper, has in the past accused the White House of
corrupting the prepublication review process. He also disputed the idea that
Bolton put any classified information in the book in the first place.

“Ambassador Bolton has carefully sought to avoid any discussion in the
manuscript of sensitive compartmented information (‘SCI’) or other classified
information, and we accordingly do not believe that prepublication review is
required,” he wrote in a Dec. 30 letter to the NSC.

But Ellen Knight, NSC’s senior director for records, access and information
security management, sent a letter in January to Cooper warning him that the
book appeared to have “significant amounts of classified information” that led
Cooper to urge her to speed up the review of Bolton’s chapter on Ukraine.
President Donald Trump tweeted that Bolton wrote a “nasty & untrue book”
that had “All Classified National Security.”

But parts of the book, although not in formal written form, entered the public
eye during Trump’s impeachment. The New York Times reported that Trump
told Bolton he wanted to continue withholding U.S. government aid from
Ukraine until officials publicly pledged to investigate Joe and Hunter Biden.
The White House did not respond to questions about Bolton’s claims at the
time, the Times reported.

Bolton offered to testify during Trump’s Senate trial, but a vote to allow
witnesses failed, largely along party lines.


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